                        THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                               Case No. 5:20-CV-00015-D


 U.S. BANK NATIONAL ASSOCIATION, as                )
 Trustee for Citigroup Mortgage Loan Trust,        )
 Inc., Mortgage Pass-Through Certificates,         )
 Series 2005-3,                                    )
                                                   )
            Plaintiff,                             )      MOTION FOR ENTRY OF
                                                   )        DEFAULT AGAINST
 v.                                                )      DEFENDANTS PIEDMONT
                                                   )    NATURAL GAS COMPANY, INC.
 IBRAHIM N. OUDEH, TERESA SLOAN-                   )     AND SUBSTITUTE TRUSTEE
 OUDEH, PIEDMONT NATURAL GAS                       )          SERVICES, INC.
 COMPANY, INC., UNITED STATES OF                   )
 AMERICA, STATE OF NORTH
 CAROLINA, and SUBSTITUTE TRUSTEE                  )
 SERVICES, INC., Substitute Trustee,               )
                                                   )
        Defendants.                                )
  ____________________________________             )


       NOW COMES, the Plaintiff, by and through counsel, pursuant to Rule 55(a) of the Federal

Rules of Civil Procedure and respectfully moves the Court to enter default against Defendants,

Piedmont Natural Gas Company, Inc. and Substitute Trustee Services, Inc. Plaintiff respectfully

shows the Court as follows:

       1.        That copies of the Civil Summons, Lis Pendens, and Verified Complaint were

deposited in the post office for mailing by certified mail, return receipt requested, to Defendant,

Piedmont Natural Gas Company, Inc., and Defendant, Piedmont Natural Gas Company, Inc., has

been served in this action pursuant to Rule 4 of the Federal Rules of Civil Procedure.

       2.        That Defendant, Piedmont Natural Gas Company, Inc., received the Civil

Summons, Lis Pendens, and Verified Complaint on December 16, 2019 as evidenced by the

Affidavit of Service filed with the Court and attached hereto as Exhibit A.




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       3.      That copies of the Civil Summons, Lis Pendens, and Verified Complaint were

deposited in the post office for mailing by certified mail, return receipt requested to Defendant,

Substitute Trustee Services, Inc., and Defendant, Substitute Trustee Services, Inc., has been served

in this action pursuant to Rule 4 of the North Carolina Rules of Civil Procedure.

       4.      That Defendant, Substitute Trustee Services, Inc., received the Civil Summons, Lis

Pendens, and Verified Complaint on December 12, 2019 as evidenced by the Affidavit of Service

filed with the Court and attached hereto as Exhibit A.

       5.      That Defendant, Piedmont Natural Gas Company, Inc., did not file an Answer to

the Verified Complaint and has failed to plead or file any type of response or communication

within the time allowed by the Federal Rules of Civil Procedure.

       6.      That Defendant, Substitute Trustee Services, Inc., did not file an Answer to the

Verified Complaint and has filed to plead or file any type of response or communication within

the time allowed by the Federal Rules of Civil Procedure.

       WHEREFORE, Plaintiff prays the Court issue an entry of default against Defendants,

Piedmont Natural Gas Company, Inc. and Substitute Trustee Services, Inc., pursuant to Rule 55(a)

of the Federal Rules of Civil Procedure in the above captioned case.

       Respectfully submitted this the 14th day of December, 2020.



                                              /s/ Claire Collins Dickerhoff
                                              Claire Collins Dickerhoff
                                              N.C. State Bar No. 44306
                                              Hutchens Law Firm LLP
                                              Post Office Box 2505
                                              Fayetteville, North Carolina 28302
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                                              Claire.dickerhoff@hutchenslawfirm.com
                                              Attorney for Plaintiff



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                                    CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion for Entry of Default was filed

 electronically with the Clerk of Court using the CM/ECF system which will send notification

 of such filing to the following:


Neal Fowler
neal.fowler@usdoj.gov
Attorney for Defendant United States of America

Lareena Jones-Phillips
lphillips@ncdoj.gov
Attorney for Defendant State of North Carolina

George J. Oliver
jerry.oliver@smithmoorelaw.com
Stephen W. Petersen
spetersen@foxrothschild.com
Attorneys for Defendant Goshen Medical Center, Inc.

       I hereby certify that, a copy of the foregoing Motion for Entry of Default was filed

electronically with the Clerk of Court using the CM/ECF system in place for the U.S. District

Court, Eastern District of North Carolina, and served upon the following parties by U.S. Mail, First

Class, Postage Prepaid:

 Piedmont Natural Gas Company
 CT Corporation System, Registered Agent
 160 Mine Lake Ct., Ste. 200
 Raleigh, NC 27615-6417

 Substitute Trustee Services, Inc., Substitute
 Trustee
 L.W. Blake, Registered Agent
 201 S. McPherson Church Road, Ste. 232
 Fayetteville, NC 28303

 Ibrahim N. Oudeh
 2202 NC Highway 50 S
 Benson, NC 27504




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Ibrahim N. Oudeh
721 Tilghman Drive
Suite 400
Dunn, NC 28334

Teresa Sloan-Oudeh
2202 NC Highway 50 S
Benson, NC 27504


     This the 14th day of December, 2020.


                                            /s/ Claire Collins Dickerhoff
                                            Claire Collins Dickerhoff
                                            N.C. State Bar No. 44306
                                            Hutchens Law Firm LLP
                                            Post Office Box 2505
                                            Fayetteville, North Carolina 28302
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                                            Attorney for Plaintiff




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